

People v Johnson (2023 NY Slip Op 04730)





People v Johnson


2023 NY Slip Op 04730


Decided on September 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 26, 2023

Before: Manzanet-Daniels, J.P., Mendez, Shulman, Rosado, O'Neill Levy, JJ. 


Ind. No. 71042/21 Appeal No. 637 Case No. 2022-05071 

[*1]The People of the State of New York, Respondent, 
vJarrid Johnson, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Emily Gault of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Gregory Carro, J.), rendered October 26, 2022,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 26, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








